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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

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ARNELL JOHNSON,                                     *
                                                    *
        Petitioner,                                 *
                                                    *
v.                                                  *          Civil Action No. RWT 14-2044
                                                    *          (Related Criminal No. RWT 10-0447)
UNITED STATES OF AMERICA,                           *
                                                    *
        Respondent.                                 *
                                                    *

                             MEMORANDUM OPINION AND ORDER

        Petitioner filed his Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct

Sentence on June 20, 2014.1 ECF No. 157. He challenges his conviction based on the Court’s

determination at sentencing that Petitioner was a career offender. Id.; ECF No. 120. On

October 20, 2011, the Court sentenced Petitioner to a total of 334 months imprisonment and five

years of supervised release for armed bank robbery, 18 US.C. § 2113(a), (d), and for the use,

carrying, and brandishing of a firearm during a crime of violence, 18 U.S.C. § 924(c).

ECF No. 119. On October 24, 2011, Petitioner appealed to the Court of Appeals for the Fourth

Circuit, arguing that the Court erred in denying his motion to suppress evidence obtained during

an inventory search of his vehicle. ECF No. 123. The Fourth Circuit affirmed his sentence and

the Court’s denial of the motion to suppress on August 12, 2012.                         ECF No. 148.         On

August 25, 2014, after filing the instant § 2255 Motion, Petitioner filed a Motion to Supplement

Motion to Vacate Under 28 U.S.C. § 2255, asserting the additional argument that his prior drug


1
 The “mail box rule” applies to § 2255 motions. Houston v. Lack, 487 U.S. 266 (1988). Therefore, the relevant
date for the Court’s discussion here is when Petitioner placed the Motion in the prison’s internal mailing system,
which was presumably June 20, 2014, the date Petitioner signed the Motion, and not the date the Court received the
Motion, which was June 25, 2014.
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convictions no longer qualify as predicate offenses to support his career offender status.

ECF No. 162. The case was stayed and further briefing suspended pending the issuance of the

opinion of the Fourth Circuit in Whiteside v. United States.             ECF No. 164.       On

September 11, 2017, the Court lifted the stay and ordered the Government to respond to

Petitioner’s Motion to Vacate and Motion to Supplement. ECF No. 182. The Government

responded by filing a Motion to Dismiss Petitioner’s Motion to Vacate on September 19, 2017.

ECF No. 183. On December 1, 2017, Petitioner filed a Motion to Amend his Motion to Vacate

(ECF No. 188) as well as a Motion to Suspend Response to the Government’s Motion to Dismiss

(ECF No. 189). The Court granted Petitioner’s Motion to Suspend and ordered the Government

to respond to Petitioner’s Motion to Amend. ECF No. 190. The Court reserved setting the date

by which Petitioner would need to respond to the Government’s Motion to Dismiss. Id. The

Government filed its Response in Opposition to Petitioner’s Motion to Amend on

December 11, 2017. ECF No. 191. The Court now considers Petitioner’s Motion to Amend.

       The Government argues that Petitioner’s Motion to Amend should be denied as untimely

because Petitioner’s original Motion to Vacate is untimely. ECF No. 191 at 1. The Government

also argues that the Motion to Amend should be denied based on futility. Id. at 2. For the

following reasons, the Court preliminarily agrees with the Government that Petitioner’s Motion

to Amend is untimely because Petitioner’s Motion to Vacate is likely untimely.

       Claims under 28 U.S.C. § 2255 are subject to a one-year statute of limitations, which

begins to run from the date on which the judgment of conviction becomes final.

28 U.S.C. § 2255(f)(1). When a defendant files a direct appeal, the one-year limitations period

begins to run when the time for filing a petition for certiorari with the U.S. Supreme Court

expires, which is 90 days after the entry of the judgment of the court of appeals.         See

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Clay v. United States, 537 U.S. 522, 532 (2003); Sup. Ct. R. 13.1. Because Petitioner’s sentence

was affirmed by the Fourth Circuit on August 17, 2012, the time for filing a certiorari petition

expired on November 15, 2012, and thus the limitations period for filing the Motion to Vacate

expired on November 15, 2013.

       Federal Rule of Civil Procedure 15(c) determines whether “an amended pleading ‘relates

back’ to the date of a timely filed original pleading and is thus itself timely even though it was

filed outside an applicable statute of limitations.”        Krupski v. Costa Crociere S. p. A.,

560 U.S. 538, 541 (2010). Therefore, an amended pleading will be considered untimely if the

original pleading is untimely.

       Petitioner asserts that his filing of his Motion to Vacate on June 20, 2014 is excused

under § 2255(f)(3) because the challenge to his conviction is based on the U.S. Supreme Court

case Descamps v. United States, 133 S. Ct. 2276 (2013). ECF No. 157 at 4. Section 2255(f)(3)

provides that the one-year limitation period shall run from the date on which the right asserted

was initially recognized by the Supreme Court, if that right has been newly recognized by the

Supreme Court and made retroactively applicable to cases on collateral review. The Fourth

Circuit has clarified that “to obtain the benefit of the limitations period stated in § 2255(f)(3), [a

petitioner] must show: (1) that the Supreme Court recognized a new right; (2) that the right ‘has

been . . . made retroactively applicable to cases on collateral review’; and (3) that [the movant]

filed his motion within one year of the date on which the Supreme Court recognized the right.”

United States v. Mathur, 685 F.2d 396, 398 (4th Cir. 2012).

       Under this standard, Petitioner cannot utilize § 2255(f)(3) to justify the late filing of his

Motion to Vacate because Descamps did not establish a newly recognized right made

retroactively applicable and thus does not excuse an untimely § 2255 motion. The courts of this

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jurisdiction have repeatedly so held. See, e.g., Maddox v. United States, No. CA DKC 14-1936,

2017 WL 4005697, at *2 (D. Md. Sept. 12, 2017); Scott v. United States, No. CR. RDB-14-1575,

2016 WL 3162766, at *3 (D. Md. June 7, 2016); Randolph v. United States, No. CIV.

CCB-13-1227, 2013 WL 5960881, at *1 (D. Md. Nov. 6, 2013). Other circuits have also held

the same. See, e.g., United States v. Morgan, 845 F.3d 664, 667 (5th Cir. 2017) (“We agree with

our sister courts that Descamps did not establish a new rule.”); Mays v. United States,

817 F.3d 728, 734 (11th Cir. 2016) (“Descamps did not announce a new rule—its holding merely

clarified existing precedent.”); Headbird v. United States, 813 F.3d 1092, 1097 (8th Cir. 2016)

(“We agree with other circuits that the decision in Descamps was dictated by the general

principles set forth in existing precedent and did not establish a new rule.”); Ezell v. United

States, 778 F.3d 762, 766 (9th Cir. 2015) (“The Supreme Court did not announce a new rule in

Descamps.”). Furthermore, the Fourth Circuit in United States v. Royal stated that Descamps

only “clarified whether courts may apply the modified categorical approach” under an indivisible

statute, implying that the case did not create a new rule.        See United States v. Royal,

731 F.3d 333, 340 (4th Cir. 2013) (emphasis added).

       Because Petitioner’s original Motion to Vacate is not excused under § 2255(f)(3), it

appears to have been untimely filed. The only way to save his Motion to Vacate, and by

implication his Motion to Amend, then, is if equitable tolling applies. See United States v.

Prescott, 221 F.3d 686, 688 (4th Cir. 2000). For equitable tolling to apply, a petitioner must

demonstrate (1) that he has been pursuing his rights diligently, and (2) extraordinary

circumstance stood in his way and prevented timely filing.                Holland v. Florida,

560 U.S. 631, 649 (2010). The Court acknowledges that courts are expected to warn a petitioner

that his case is subject to dismissal as time-barred and provide an opportunity to respond and

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demonstrate that equitable tolling is warranted. Given that expectation, the Court will order

Petitioner to respond to the Government’s timeliness argument before it makes its final decision

regarding Petitioner’s Motion to Amend and Motion to Vacate.

       Accordingly, it is this 1st day of February, 2018, by the United States District Court for

the District of Maryland, hereby

       ORDERED, that Petitioner SHALL RESPOND within 30 days of the date of this

Order to the Government’s timeliness argument asserted in the Government’s Response to

Petitioner’s Motion to Amend (ECF No. 191) and Motion to Dismiss Petitioner’s Motion to

Vacate (ECF No. 183); and it is further

       ORDERED, that the Clerk SHALL PROVIDE a copy of this Order to Petitioner.



                                                                          /s/
                                                    ROGER W. TITUS
                                                    UNITED STATES DISTRICT JUDGE




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